 

Case 1:19-cv-05523-SDG Document 152 Filed 07/23/21 Page 1 of 1

AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
Northern District of Georgia

Case Number: 1:19-CV-5523-ODE

Plaintiff: Berkeley Ventures II, LLC

vs.

Defendant: Sionic Mobile Corporation
Ronald D. Herman

For:

Jason Godwin

Godwin Law Group

3985 Steve Reynolds Boulevard
Building D

Norcross, GA 30093

Received by Ancillary Legal Corporation on the 14th day of July, 2021 at 9:00 am to be served on Ritwik
Chatterjee, 823 Saint Charles Ave NE, #1, Atlanta, GA 30306-4159.

|, Kevin Williams, being duly sworn, depose and say that on the 21st day of July, 2021 at 3:42 pm, I:

INDIVIDUALLY/PERSONALLY served by delivering a true copy of the Subpoena to Produce
Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action, Federal
Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13) exhibits A to: Ritwik Chatterjee at
the address of: 823 Saint Charles Ave NE, #1, Atlanta, GA 30306-4159.

Additional Information pertaining to this Service:
7/21/2021 3:42 pm Perfected personal service at 823 Saint Charles Ave NE, #1, Atlanta, GA 30306-4159.
Ritwik Chatterjee took the documents, age ~40, male, ~5'6, ~145 Ibs, bald, with long black and grey beard.

| am an agent of Ancillary Legal Corporation and am competent in all respects to testify regarding the
matters set forth herein. | have personal knowledge of the facts stated herein and know them to be true.|
have no interest in the outcome of this action and am not related to any of the parties. | am 18 or more

years of age and am authorized to serve process.

Kevin Williams

 

Subscribed and Sworn to before me on the 23> Process Server
day of \ ,_ zou by the affiant . ;
who is personally¥-known to me. Ancillary Legal Corporation
2900 Chamblee Tucker Road
Building 13
NOTARY PUBLIC Atlanta, GA 30341
(404) 459-8006
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Sant MA ony Our Job Serial Number: ANC-2021007809
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